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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

JANE DOE (D.M.),

              Plaintiff,

v.                                            CASE NO. 3:23-cv-1310-WWB-JBT

CROWLEY MARITIME
CORPORATION, et al.,

          Defendants.
___________________________/

                                      ORDER

        THIS CAUSE is before the Court on Plaintiff’s Motion for Leave to File

Amended Complaint to Add the United States of America as a Named Defendant

and to Deem the Crowley Defendants’ Motion to Dismiss [D.E. 8] Moot (“Motion”)

(Doc. 23) and Defendants’ Response thereto (“Response”) (Doc. 25). For the

reasons stated herein, the Motion is due to be GRANTED and Defendants Crowley

Maritime Corporation and Crowley Government Services’ Motion to Dismiss

(“Motion to Dismiss”) (Doc. 8) will be DENIED without prejudice as procedurally

moot.

        Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that “[t]he

court should freely give leave [to amend pleadings] when justice so requires.” The

Supreme Court has stated that “this mandate is to be heeded.” Foman v. Davis,

371 U.S. 178, 182 (1962). The Supreme Court further stated:
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            In the absence of any apparent or declared reason—
            such as undue delay, bad faith or dilatory motive on the
            part of the movant, repeated failure to cure deficiencies
            by amendments previously allowed, undue prejudice to
            the opposing party by virtue of allowance of the
            amendment, futility of amendment, etc.—the leave
            sought should, as the rules require, be “freely given.” Of
            course, the grant or denial of an opportunity to amend is
            within the discretion of the District Court, but outright
            refusal to grant the leave without any justifying reason
            appearing for the denial is not an exercise of discretion;
            it is merely abuse of that discretion and inconsistent with
            the spirit of the Federal Rules.

Id.

      In the Response, Defendants argue that the Court should deny the Motion

because amendment would be futile, and the proposed Amended Complaint (“AC”)

(Doc. 23-1) is a shotgun pleading. However, the Court cannot conclude at this

time that amendment would be futile or that the proposed amended complaint is a

shotgun pleading such that amendment            should be denied.         Defendants’

substantive arguments regarding the legal sufficiency of the claims raised in the

proposed AC should not be determined upon a motion to amend.

      Accordingly, it is ORDERED:

      1.    The Motion (Doc. 23) is GRANTED.

      2.    The Clerk of Court is directed to file the AC (Doc. 23-1) as a separate

document.

      3.    Defendants, other than the United States, shall respond to the AC


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within twenty-one (21) days after it is filed as a separate document.

      4.     The Motion to Dismiss (Doc. 8) is DENIED without prejudice as

procedurally moot.

      DONE AND ORDERED in Jacksonville, Florida on January 24, 2024.




Copies to:

Counsel of Record




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